                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


JENNIFER REED, et al.                        )
      Plaintiff(s)                           )
                                             )
v.                                           )          Case No. 3:18-0819
                                             )          Judge Richardson/ Frensley
                                             )
YOUNG HO KIM, et al.                         )
    Defendant(s)                             )


                                            ORDER

       On March 11, 2019, counsel for the Defendants was allowed to withdraw from the case,

and deadlines were stayed until April 16, 2019. Docket No. 24. Therefore, the telephone

conference scheduled for April 2, 2019, is hereby CONTINUED to April 30, 2019, at 11:00 a.m.

        The parties shall call 1-877-336-1831 at the appointed time, and when prompted for the

access code, enter 7039387# to participate in the Conference. If a party has difficulty connecting

to the call, please contact chambers at 615-736-7344.

       IT IS SO ORDERED.



                                                        ________________________________
                                                        JEFFERY S. FRENSLEY
                                                        United States Magistrate Judge




     Case 3:18-cv-00819 Document 25 Filed 04/01/19 Page 1 of 1 PageID #: 75
